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				IN THE MATTER OF STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2023 OK 67Case Number: SCBD-7260Decided: 06/12/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 67, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2021



ORDER STRIKING NAMES


The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls and from the practice of law in the State of Oklahoma for failure to comply with the Rules for Mandatory Continuing Legal Education, 5 O.S. 2011, ch. 1, app. 1-B, for the year 2021.

Pursuant to Rule 6(d) of the Rules for Mandatory Continuing Legal Education, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Association and the practice of law in the State of Oklahoma by Order of this Court on June 6, 2022, for noncompliance with Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education for the year 2021. Based on its application, this Court finds that the Board of Governors determined at their May 19, 2023 meeting that none of the Oklahoma Bar Association's members named on Exhibit A, attached hereto, have applied for reinstatement within one year of the suspension order. Further, the Board of Governors declared that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and their names should therefore be stricken from its membership rolls and the Roll of Attorneys on June 12, 2023. This Court finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys on June 12, 2023 for failure to comply with the Rules for Mandatory Continuing Legal Education for the year 2021.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12TH DAY OF JUNE, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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OBA # 14986
Gordon Lynn Burch III
3101 NW 21st St
Oklahoma City, OK 73107-3009

OBA # 22552
Blaine Michael Dyer
16328 Muirfield Pl
Edmond, OK 73013-9145

OBA # 32227
Lindsey Marie Everett
5801 E 41st St Ste 300
Tulsa, OK 74135-5628

OBA # 32831
Matthew Ryan McRorie
4640 Olde Village Cir
Edmond, OK 73013-4767

OBA # 30213
Suzanne Reed Phillips
2862 Valentia St
Denver, CO 80238-2512

OBA # 13339
Michael Christopher Radmilovich
4922 E 38th Pl
Tulsa, OK 74135-5529

OBA # 14021
Pamela M. Snider
1523 N Oklahoma Ave
Shawnee, OK 74804-3848

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OBA # 10973
Cliff A. Stark
10004 S Louisville Ave
Tulsa, OK 74137-5221

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